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                           UNITED STATES DISTRICT COURT
  7
                          CENTRAL DISTRICT OF CALIFORNIA
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  9    THRIVE NATURAL CARE, INC.,             Case No. 2:20-CV-9091-PA-AS
 10                   Plaintiff,              [PROPOSED] ORDER GRANTING
                                              PLAINTIFF’S APPLICATION TO
 11          v.                               FILE DOCUMENTS UNDER SEAL
 12    THRIVE CAUSEMETICS, INC.,
 13                      Defendant.
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                                                    [PROPOSED] ORDER GRANTING PLAINTIFF’S
                                                           APPLICATION TO FILE UNDER SEAL
                                                                   Case No. 2:20-cv-9091-PA-AS
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  1                                           ORDER
  2         This Court has read and considered Plaintiff Thrive Natural Care Inc.’s
  3   Application for Leave to File Under Seal and the Sealed Declaration of Stephen
  4   McArthur in support of Plaintiff Thrive Natural Care, Inc.’s Application for Leave
  5   to File Under Seal. Good cause and a compelling need to file these documents
  6   under seal have been shown, based on the confidential and sensitive nature of the
  7   documents:
  8         Exhibits 1-4 are unredacted copies of Defendant’s deposition transcripts and
  9   exhibits   that   contain   information    designated     “CONFIDENTIAL”               and
 10   “ATTORNEYS’ EYES ONLY” by Defendant. Counsel for Defendant has not
 11   consented to publicly filing the information that has been redacted from the public
 12   version of Exhibits 1-4.
 13         Exhibit 5 is an unredacted copy of the Declaration of David Drews in support
 14   of Plaintiff’s Motion for Partial Summary Judgment which contains various figures
 15   and information designated “CONFIDENTIAL” and “ATTORNEYS’ EYES
 16   ONLY” by Defendant. Counsel for Defendant has not consented to publicly filing
 17   the information that has been redacted from the public version of Exhibit 5.
 18         Exhibit 6 is an unredacted copy of Plaintiff’s Opening Brief in support of
 19   Motion for Partial Summary Judgment which contains information designated
 20   “CONFIDENTIAL” and “ATTORNEYS’ EYES ONLY” by Defendant. Counsel for
 21   Defendant has not consented to publicly filing the information that has been redacted
 22   from the public version of Exhibit 6.
 23         Exhibit 7 is an unredacted copy of Plaintiff’s [Proposed] Order Granting
 24   Plaintiff’s Motion for Partial Summary Judgment which contains information
 25   designated “CONFIDENTIAL” and “ATTORNEYS’ EYES ONLY” by Defendant.
 26   Counsel for Defendant has not consented to publicly filing the information that has
 27   been redacted from the public version of Exhibit 7.
 28         Exhibit 8 is an unredacted copy of Plaintiff’s Statement of Uncontroverted
                                                        [PROPOSED] ORDER GRANTING PLAINTIFF’S
                                                               APPLICATION TO FILE UNDER SEAL
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  1   Facts and Conclusions of Law in support of Motion for Partial Summary Judgment
  2   which contains information designated “CONFIDENTIAL” and “ATTORNEYS’
  3   EYES ONLY” by Defendant. Counsel for Defendant has not consented to publicly
  4   filing the information that has been redacted from the public version of Exhibit 8.
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  6         IT IS HEREBY ORDERED that:
  7         Plaintiff’s Application to File Documents Under Seal is GRANTED.
  8   Plaintiff shall promptly file Exhibits 1 – 8 under seal in accordance with Local Rule
  9   79-5.2.2(c).
 10         IT IS SO ORDERED.
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      DATED:_____________                    ___________________________________
 12
                                             Hon. Percy Anderson
 13                                          Judge, United States District Court
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                                                         [PROPOSED] ORDER GRANTING PLAINTIFF’S
                                                                APPLICATION TO FILE UNDER SEAL
                                                -2-                     Case No. 2:20-cv-9091-PA-AS
